




NO. 07-05-0224-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 11, 2005



______________________________



MARY L. THOMAS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 31
ST
 DISTRICT COURT OF WHEELER COUNTY;



NO. 4187; HONORABLE STEVEN EMMERT, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

Appellant, Mary L. Thomas, appeals from her conviction for securing execution of a document by deception $20,000 or more but less than $100,000. &nbsp;Sentence was imposed on March 8, 2005. &nbsp;The reporter’s record was filed on July 12, 2005 and the clerk’s record was filed on July 13, 2005. &nbsp;We will dismiss the appeal for want of jurisdiction.

Our appellate jurisdiction over a criminal appeal is triggered through a timely notice of appeal. &nbsp;
Olivo v. State
, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996). &nbsp;In the absence of a notice of appeal timely filed in compliance with the requirements of Rule of Appellate Procedure 26, a court of appeals does not obtain jurisdiction to address the merits of the appeal in a criminal case, and can take no action other than to dismiss the appeal. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998). &nbsp;As applicable here, Rule of Appellate Procedure 26.2(a) requires a notice of appeal in a criminal case be filed within 30 days after the day sentence is imposed or suspended in open court, or within 90 days after imposition of the sentence if a timely motion for new trial is filed. &nbsp;Rule 26.3 allows for an extension of time if the appellant files a notice of appeal with the trial court within 15 days after the deadline for filing the notice of appeal and files a motion for extension with the appellate court. &nbsp;

Here, the record reflects that the court imposed sentence on appellant on March 8, 2005. &nbsp;A motion for new trial was timely filed on April 4, 2005, making appellant’s notice of appeal due June 6, 2005. &nbsp;&nbsp;The notice of appeal was filed June 7, 2005. &nbsp;A motion for extension of time was filed with this court on June 22, 2005, more than 15 days after the due date for the notice of appeal. &nbsp;Tex. R. App. P. 26.3. &nbsp;Appellant’s failure to file a timely notice of appeal or to meet the requirements for an extension under Rule 26.3 prevents this court from having jurisdiction over his appeal. &nbsp;
Slaton
, 981 S.W.2d at 210. &nbsp;





Consequently, the appeal is dismissed for want of jurisdiction. &nbsp;



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



Do not publish. &nbsp;


